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 1     CENTER FOR DISABILITY ACCESS
       Amanda Seabock, Esq., SBN 289900
 2     Prathima Price, Esq., SBN 321378
       Dennis Price, Esq., SBN 279082
 3     Mail: 8033 Linda Vista Road, Suite 200
       San Diego, CA 92111
 4     (858) 375-7385; (888) 422-5191 fax
       amandas@potterhandy.com
 5
       Attorneys for Plaintiff
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 7
 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson,                            Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Ends In E. Inc., a California             Act; Unruh Civil Rights Act
14     Corporation; and Does 1-10,

15               Defendants.

16
17         Plaintiff Scott Johnson complains of Ends In E. Inc., a California
18   Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
22
     level C-5 quadriplegic. He cannot walk and also has significant manual
23
     dexterity impairments. He uses a wheelchair for mobility and has a specially
24
     equipped van.
25
       2. Defendant Ends In E. Inc. owned the real property located at or about
26
     5320 Monterey Rd, San Jose, California, in December 2019 and July 2020.
27
       3. Defendant Ends In E. Inc. owns the real property located at or about
28


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 1   5272 Monterey Rd, San Jose, California, currently.
 2     4. Plaintiff does not know the true names of Defendants, their business
 3   capacities, their ownership connection to the property and business, or their
 4   relative responsibilities in causing the access violations herein complained of,
 5   and alleges a joint venture and common enterprise by all such Defendants.
 6   Plaintiff is informed and believes that each of the Defendants herein,
 7   including Does 1 through 10, inclusive, is responsible in some capacity for the
 8   events herein alleged, or is a necessary party for obtaining appropriate relief.
 9   Plaintiff will seek leave to amend when the true names, capacities,
10   connections, and responsibilities of the Defendants and Does 1 through 10,
11   inclusive, are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to the property to visit Birrieria El Primo (“Restaurant”) in
27   December 2019 and July 2020 with the intention to avail himself of its goods
28   motivated in part to determine if the defendants comply with the disability


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 1   access laws.
 2     9. The Restaurant is a facility open to the public, a place of public
 3   accommodation, and a business establishment.
 4     10. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
 5   to provide wheelchair accessible parking in conformance with the ADA
 6   Standards as it relates to wheelchair users like the plaintiff.
 7     11. The Restaurant provides parking to its customers but fails to provide
 8   wheelchair accessible parking.
 9     12. A few problems that plaintiff encountered is that there were no van-
10   accessible parking spaces and there were slopes that exceeded 2.1% in the
11   parking spaces marked and reserved for persons with disabilities.
12   Additionally, some of the striping in the parking spaces reserved for persons
13   with disabilities have been allowed to fade.
14     13. Plaintiff believes that there are other features of the parking that likely
15   fail to comply with the ADA Standards and seeks to have fully compliant
16   parking available for wheelchair users.
17     14. On information and belief the defendants currently fail to provide
18   wheelchair accessible parking.
19     15. Additionally, on the dates of the plaintiff’s visits, the defendants failed
20   to provide wheelchair accessible dining surfaces in conformance with the ADA
21   Standards as it relates to wheelchair users like the plaintiff.
22     16. The Restaurant provides dining surfaces to its customers but fails to
23   provide wheelchair accessible dining surfaces.
24     17. One problem that plaintiff encountered is the lack of sufficient knee or
25   toe clearance under the dining surfaces for wheelchair users.
26     18. Plaintiff believes that there are other features of the dining surfaces that
27   likely fail to comply with the ADA Standards and seeks to have fully compliant
28   dining surfaces available for wheelchair users.


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 1     19. On information and belief the defendants currently fail to provide
 2   wheelchair accessible dining surfaces.
 3     20. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 4   personally encountered these barriers.
 5     21. As a wheelchair user, the plaintiff benefits from and is entitled to use
 6   wheelchair accessible facilities. By failing to provide accessible facilities, the
 7   defendants denied the plaintiff full and equal access.
 8     22. The failure to provide accessible facilities created difficulty and
 9   discomfort for the Plaintiff.
10     23. Even though the plaintiff did not confront the following barriers, the
11   sales counter is too high and there is no lowered portion of the sales counter
12   suitable for wheelchair users. Additionally, the restroom door hardware has a
13   round knob handle. Moreover, the restroom mirror is too high and restroom
14   sink does not provide any knee clearance for wheelchair users. Finally, some
15   of the parking spaces marked and reserved for persons with disabilities are
16   being used for dining areas. Plaintiff seeks to have these barriers removed as
17   they relate to and impact his disability.
18     24. The defendants have failed to maintain in working and useable
19   conditions those features required to provide ready access to persons with
20   disabilities.
21     25. The barriers identified above are easily removed without much
22   difficulty or expense. They are the types of barriers identified by the
23   Department of Justice as presumably readily achievable to remove and, in fact,
24   these barriers are readily achievable to remove. Moreover, there are numerous
25   alternative accommodations that could be made to provide a greater level of
26   access if complete removal were not achievable.
27     26. Plaintiff will return to the Restaurant to avail himself of its goods and to
28   determine compliance with the disability access laws once it is represented to


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 1   him that the Restaurant and its facilities are accessible. Plaintiff is currently
 2   deterred from doing so because of his knowledge of the existing barriers and
 3   his uncertainty about the existence of yet other barriers on the site. If the
 4   barriers are not removed, the plaintiff will face unlawful and discriminatory
 5   barriers again.
 6     27. Given the obvious and blatant nature of the barriers and violations
 7   alleged herein, the plaintiff alleges, on information and belief, that there are
 8   other violations and barriers on the site that relate to his disability. Plaintiff will
 9   amend the complaint, to provide proper notice regarding the scope of this
10   lawsuit, once he conducts a site inspection. However, please be on notice that
11   the plaintiff seeks to have all barriers related to his disability remedied. See
12   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
13   encounters one barrier at a site, he can sue to have all barriers that relate to his
14   disability removed regardless of whether he personally encountered them).
15
16   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
17   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
18   Defendants.) (42 U.S.C. section 12101, et seq.)
19     28. Plaintiff re-pleads and incorporates by reference, as if fully set forth
20   again herein, the allegations contained in all prior paragraphs of this
21   complaint.
22     29. Under the ADA, it is an act of discrimination to fail to ensure that the
23   privileges, advantages, accommodations, facilities, goods and services of any
24   place of public accommodation is offered on a full and equal basis by anyone
25   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
26   § 12182(a). Discrimination is defined, inter alia, as follows:
27             a. A failure to make reasonable modifications in policies, practices,
28                or procedures, when such modifications are necessary to afford


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 1               goods,    services,    facilities,   privileges,   advantages,   or
 2               accommodations to individuals with disabilities, unless the
 3               accommodation would work a fundamental alteration of those
 4               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5            b. A failure to remove architectural barriers where such removal is
 6               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 7               defined by reference to the ADA Standards.
 8            c. A failure to make alterations in such a manner that, to the
 9               maximum extent feasible, the altered portions of the facility are
10               readily accessible to and usable by individuals with disabilities,
11               including individuals who use wheelchairs or to ensure that, to the
12               maximum extent feasible, the path of travel to the altered area and
13               the bathrooms, telephones, and drinking fountains serving the
14               altered area, are readily accessible to and usable by individuals
15               with disabilities. 42 U.S.C. § 12183(a)(2).
16     30. When a business provides parking for its customers, it must provide
17   accessible parking.
18     31. Here, accessible parking has not been provided in conformance with the
19   ADA Standards.
20     32. When a business provides facilities such as dining surfaces, it must
21   provide accessible dining surfaces.
22     33. Here, accessible dining surfaces have not been provided in
23   conformance with the ADA Standards.
24     34. When a business provides facilities such as sales or transaction counter,
25   it must provide accessible sales or transaction counters.
26     35. Here, accessible sales counters have not been provided in conformance
27   with the ADA Standards.
28     36. When a business provides facilities such as restrooms, it must provide


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 1   accessible restrooms.
 2     37. Here, accessible restrooms have not been provided in conformance with
 3   the ADA Standards.
 4     38. The Safe Harbor provisions of the 2010 Standards are not applicable
 5   here because the conditions challenged in this lawsuit do not comply with the
 6   1991 Standards.
 7     39. A public accommodation must maintain in operable working condition
 8   those features of its facilities and equipment that are required to be readily
 9   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
10     40. Here, the failure to ensure that the accessible facilities were available
11   and ready to be used by the plaintiff is a violation of the law.
12
13   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
14   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
15   Code § 51-53.)
16     41. Plaintiff repleads and incorporates by reference, as if fully set forth
17   again herein, the allegations contained in all prior paragraphs of this
18   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
19   that persons with disabilities are entitled to full and equal accommodations,
20   advantages, facilities, privileges, or services in all business establishment of
21   every kind whatsoever within the jurisdiction of the State of California. Cal.
22   Civ. Code §51(b).
23     42. The Unruh Act provides that a violation of the ADA is a violation of the
24   Unruh Act. Cal. Civ. Code, § 51(f).
25     43. Defendants’ acts and omissions, as herein alleged, have violated the
26   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
27   rights to full and equal use of the accommodations, advantages, facilities,
28   privileges, or services offered.


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 1      44. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 2   discomfort or embarrassment for the plaintiff, the defendants are also each
 3   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 4   (c).)
 5      45. Although the plaintiff encountered frustration and difficulty by facing
 6   discriminatory barriers, even manifesting itself with minor and fleeting
 7   physical symptoms, the plaintiff does not value this very modest physical
 8   personal injury greater than the amount of the statutory damages.
 9
10             PRAYER:
11             Wherefore, Plaintiff prays that this Court award damages and provide
12   relief as follows:
13           1. For injunctive relief, compelling Defendants to comply with the
14   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
15   plaintiff is not invoking section 55 of the California Civil Code and is not
16   seeking injunctive relief under the Disabled Persons Act at all.
17           2. Damages under the Unruh Civil Rights Act, which provides for actual
18   damages and a statutory minimum of $4,000 for each offense.
19           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
21
     Dated: October 2, 2020                      CENTER FOR DISABILITY ACCESS
22
23
24
                                                 By: _______________________
25
                                                 Amanda Seabock, Esq.
26                                               Attorney for plaintiff
27
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